
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO.
 
2-07-094-CV





IN THE INTEREST OF C.H., J.H., C.H.,	APPELLANT

AND Z.H., 
CHILDREN



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FROM THE 43RD
 DISTRICT
 COURT OF PARKER COUNTY



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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT



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On March 26, 2007 and April 9, 2007, we notified appellant, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $125 filing fee was paid. &nbsp;
See
 
Tex. R. App. P.
 42.3(c). &nbsp;Appellant has not paid the $125 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellant has failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court’s order of July 21, 1998,
(footnote: 2) we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P
. 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P.
 43.4.

PER CURIAM



PANEL D: &nbsp;MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J. &nbsp;



DELIVERED:
 &nbsp;May 31, 2007

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.


2:July 21, 1998 “Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals,” 971-972 S.W.2d (Tex. Cases) XXXVIII (1998).




